                     IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF IOWA
                               EASTERN DIVISION



 UNITED STATES OF AMERICA,
                Plaintiff,                                  No. CR 06-1008
 vs.                                   ORDER REGARDING
                                  MAGISTRATE’S REPORT AND
 NOELIA MORAN-RODRIGUEZ,               RECOMMENDATION
                                   CONCERNING DEFENDANT’S
          Defendant.                      GUILTY PLEA
                     ____________________


                       I. INTRODUCTION AND BACKGROUND
        On March 22, 2006, a two-count Indictment was returned against the defendant
Noelia Moran-Rodriguez. On April 13, 2006, the defendant appeared before United States
Magistrate Judge John A. Jarvey and entered a plea of guilty to Count 9 of the Indictment.
On April 13, 2006, Judge Jarvey filed a Report and Recommendation in which he
recommended that defendant’s guilty plea be accepted. On April 13, 2006, Defendant
filed a Waiver of Objections to Report and Recommendation. The court, therefore,
undertakes the necessary review of Judge Jarvey's recommendation to accept defendant’s
plea in this case.


                                      II. ANALYSIS
        Pursuant to statute, this court’s standard of review for a magistrate judge’s Report
and Recommendation is as follows:
               A judge of the court shall make a de novo determination of
               those portions of the report or specified proposed findings or
               recommendations to which objection is made. A judge of the
               court may accept, reject, or modify, in whole or in part, the

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              findings or recommendations made by the magistrate [judge].

28 U.S.C. § 636(b)(1). Similarly, Federal Rule of Civil Procedure 72(b) provides for
review of a magistrate judge’s Report and Recommendation on dispositive motions and
prisoner petitions, where objections are made, as follows:
              The district judge to whom the case is assigned shall make a de
              novo determination upon the record, or after additional
              evidence, of any portion of the magistrate judge’s disposition
              to which specific written objection has been made in
              accordance with this rule. The district judge may accept,
              reject, or modify the recommended decision, receive further
              evidence, or recommit the matter to the magistrate judge with
              instructions.
FED. R. CIV. P. 72(b).
       In this case, no objections have been filed, and it appears to the court upon review
of Judge Jarvey's findings and conclusions, that there is no ground to reject or modify
them. Therefore, the court accepts Judge Jarvey's Report and Recommendation of April
13, 2006, and accepts defendant’s plea of guilty in this case to Count 9 of the Indictment.
       IT IS SO ORDERED.
       DATED this 21st day of April, 2006.




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